                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR 11-0107
 vs.                                              ORDER REGARDING
                                             MAGISTRATE’S REPORT AND
 JESSE KAISER,                                    RECOMMENDATION
                                              CONCERNING DEFENDANT’S
               Defendant.                            GUILTY PLEA
                                ____________________

                      I. INTRODUCTION AND BACKGROUND
       On July 26, 2011, a three-count Superseding Indictment was returned against the
defendant Jesse Kaiser and another individual. On July 1, 2013, the defendant appeared
before United States Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count
1 of the Superseding Indictment. On July 1, 2013, Judge Scoles filed a Report and
Recommendation in which he recommended that the defendant’s guilty plea be accepted.
That same date, the parties filed a Waiver of Objections to the Report and
Recommendation. The court, therefore, undertakes the necessary review of Judge Scoles’s
recommendation to accept the defendant’s plea in this case.
                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and


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prisoner petitions, where objections are made, as follows:
             The district judge must determine de novo any part of the
             magistrate judge’s disposition that has been properly objected
             to. The district judge may accept, reject, or modify the
             recommended disposition; receive further evidence; or return
             the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court accepts Judge Scoles’s Report and Recommendation of July
1, 2013, and accepts the defendant’s plea of guilty in this case to Count 1 of the
Superseding Indictment.
      IT IS SO ORDERED.
      DATED this 1st day of July, 2013.




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